Case 2:98-cr-20044-.]DB Document 8 Filed 05/31/05 Page 1 of 2 Page|D 10

IN THE UNITED STATES DISTRICT C0URT N_l.;@ ;:~¢;__ . .--~-»-#3"$
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 35 rim 3 t Ptt 3= l »)
._'(¢_- ‘._, ' `. §L]iléT
*
UNITED STATES OF AMERICA, ` "
>|<
P]aintifi",
*
vs. NO. 98_20044_13
*
HENRY ARISTY,
*
Defendant.

ORDER GRANTING GOVERNMENT‘S MOTION TO DISMISS INDICTMENT
lt is hereby ORDERED that the Govemment's Motion To Dismiss Indictment in the above-
entitled and numbered criminal case as to HENRY ARISTY is hereby GRANTED.

_ d
DONE at Memphis, Tennessee, this 31 day of m‘_"} , 2005.

M

l D STATES DISTRlCT JUDGE

This document entered on the docket beer in cc‘.mpt\'ance
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Honorable J. Breen
US DISTRICT COURT

